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Fill in this information to identify your case:                                                                       For amended plans only:
                                                                                                                           Check if this amended plan is filed prior to
IN THE UNITED STATES BANKRUPTCY COURT                                                                                      any confirmation hearing.

FOR THE EASTERN DISTRICT OF TEXAS                                                                                            Check if this amended plan is filed in
                                                                                                                             response to an initial denial order or a
                                                                                                                             continuance that counted as an initial
Debtor 1              Robert                     Cecil Lee                 Cooper
                                                                                                                             denial.
                      First Name                 Middle Name               Last Name
                                                                                                                    List the sections which have been changed by
Debtor 2              Amber                      Dawn                      Cooper                                   this amended plan:
(filing spouse)       First Name                 Middle Name               Last Name
                                                                                                                    ______________________________
Case number:                                                                                                        ______________________________
                                                                                                                    ______________________________
                                                                                                                    ______________________________

TXEB Local Form 3015-a
                                                               CHAPTER 13 PLAN
                                                                                                                                                            Adopted: Dec 2017

Part 1:         Notices
To Debtor*:         This plan form is designed for use when seeking an initial confirmation order. It sets out options that may be appropriate in
                    some cases, but the presence of an option on the form does not indicate that the option is appropriate in your
                    circumstances. When you file this Plan, you must serve a copy of it upon each party listed on the master mailing
                    list (matrix) of creditors as constituted by the Court on the date of service and evidence that service through
                    a Certificate of Service affixed to this document that attaches a copy of the matrix of creditors which you
                    served. The most current matrix in this case is available under the "Reports" tab of the CM-ECF system.

* The use of the singular term "Debtor" in this Plan includes both debtors when the case has been initiated by the filing of a joint petition by spouses.

To Creditors:       Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                    You should read this Plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                    have an attorney, you may wish to consult one.

                    If you oppose any permanent treatment of your claim as outlined in this plan, you or your attorney must file an objection to
                    confirmation of this Plan. An objection to confirmation must be filed at least 14 days before the date set for the plan
                    confirmation hearing. That date is listed in ¶ 9 of the Notice of Chapter 13 Bankruptcy Case issued in this case. The
                    objection period may be extended to 7 days prior to the confirmation hearing under the circumstances specified in LBR
                    3015(f). In any event, the Court may confirm this plan without further notice if no objection to confirmation is timely filed.

                    Regardless of whether you are listed in the Debtor's matrix of creditors or in the Debtor's schedules, you must timely file
                    a proof of claim in order to be paid under this Plan. The deadline for filing claims is listed in ¶ 8 of the Notice of Chapter 13
                    Bankruptcy Case issued in this case. Disbursements on allowed claims will begin on the Trustee's next scheduled
                    distribution date after the Effective Date of the Plan. See § 9.1.

                    The Debtor must check on box on each line to state whether or not the plan includes each of the following
                    items. If an item is checked as "Not Included" or if both boxes are checked, the provision will be ineffective if
                    set out later in the Plan.

1.1     A limit on the amount of an allowed secured claim through a final determination of                                              Included               Not included
        the value of property constituting collateral for such claim, as set forth in § 3.10 of
        this Plan, which may result in a partial payment or no payment at all to the secured
        creditor.

1.2     Avoidance of a judicial lien or a nonpossessory, nonpurchase-money security                                                     Included               Not included
        interest, as set forth in § 3.9 of this Plan.

1.3     Potential termination and removal of lien based upon alleged unsecured status of                                                Included               Not included
        claim of lienholder, as set forth in § 3.11 of this Plan.

1.4     Nonstandard provisions as set forth in Part 8.                                                                                  Included               Not included
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Debtor     Robert Cecil Lee Cooper                                                                                      Case number
           Amber Dawn Cooper

 Part 2:           Plan Payments and Length of Plan

 2.1     The applicable commitment period for the Debtor is                           36          months.


 2.2     Payment Schedule.

         Unless the Court orders otherwise, beginning on the 30th day after the Petition Date* or the entry date of any order converting this
         case to Chapter 13, whichever is later, the Debtor will make regular payments to the Trustee throughout the applicable commitment
         period and for such additional time as may be necessary to make the payments to claimants specified in Parts 3 through 5 of this Plan
         (the "Plan Term" ). The payment schedule shall consist of:
         * The use of the term "Petition Date" in this Plan refers to the date that the Debtor filed the voluntary petition in this case.

               Constant Payments:              The Debtor will pay                                  per month for                           months.

               Variable Payments:      The Debtor will make variable plan payments throughout the Plan Term. The proposed schedule for such
               variable payments are set forth in Exhibit A to this Order and are incorporated herein for all purposes.


 2.3     Mode of Payment.             Regular payments to the Trustee will be made from future income in the following manner:

         [Check one]

               Debtor will make payments pursuant to a wage withholding order directed to an employer.

               Debtor will make electronic payments through the Trustee's authorized online payment system.

               Debtor will make payments by money order or cashier's check upon written authority of the Trustee.

               Debtor will make payments by other direct means only as authorized by motion and separate court order.

 2.4     Income tax refunds.

         In addition to the regular monthly payments to the Trustee, and in the absence of a court order to the contrary, the Debtor is
         required to:

             (1)    supply a copy of each federal income tax return, including all supporting schedules, filed during the Plan Term to the
                    Trustee within 14 days of filing the return; and

             (2)    remit to the Trustee within 14 days of receipt all federal income tax refunds received by each Debtor during the plan term
                    which will be added to the plan base; provided, however, that the Debtor may retain from each such refund up to
                    $2,000.00 in the aggregate on an annual basis if the Debtor is current on the payment obligations to the Trustee under this
                    Plan at the time of the receipt of such tax refund.

         The Debtor hereby authorizes the Trustee to endorse any federal income tax refund check made payable to the Debtor during the
         plan term.


 2.5     Additional payments.             [Check one]

               None. If "None" is checked, the rest of § 2.5 need not be completed.


 2.6     Plan Base.

         The total amount due and owing to the Trustee under §§ 2.2 and 2.5 is        $34,366.00        which, when combined with any income
         tax refunds due to the Trustee under § 2.4, any litigation proceeds due to the Trustee under § 9.3, and any other funds received by the
         Trustee on the Debtor's behalf during the Plan Term, constitutes the "Plan Base."


 Part 3:           Treatment of Secured Claims
 3.1     Post-Petition Home Mortgage Payments. [Check one]

               No Home Mortgage. If "No Mortgage" is checked, the remainder of § 3.1 need not be completed.

               Home Mortgage Maturing Before or During Plan Term. If "Mortgage Maturing" is checked, the claim will be addressed in
               § 3.4. The remainder of § 3.1 need not be completed.


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Debtor    Robert Cecil Lee Cooper                                                                                 Case number
          Amber Dawn Cooper

             Direct Home Mortgage Payments by Debtor Required.

             On the Petition Date, the Debtor owed the following claims secured only by a security interest in real property that is the Debtor's
             principal residence. The listed monthly payment amount is correct as of the Petition Date. Such mortgage claims (other than
             related Cure Claims addressed in § 3.2), shall be paid directly by the Debtor in accordance with the pre-petition contract, including
             any rate changes or other modifications required by such documents and noticed in conformity with any applicable rules, as such
             payments become due during the Plan Term. The fulfillment of this requirement is critical to the Debtor's reorganization effort.
             Any failure by the Debtor to maintain payments to a mortgage creditor during the Plan Term may preclude
             confirmation of this Plan and, absent a subsequent surrender of the mortgage premises, may preclude the
             issuance of any discharge order to the Debtor under § 1328(a).* The Trustee will monitor the Debtor's fulfillment of this
             direct payment obligation ("DPO").

             *All statutory references contained in this Plan refer to the Bankruptcy Code, located in Title 11, United States Code.


              Mortgage Lienholder                                            Property Address                                 Monthly Payment    Due Date of
                                                                                                                              Amount by Debtor    Monthly
                                                                                                                                                  Payment

 1.                                                        Debtors' Homestead                                                  $1,200.00
 Usda Rural Development                                                                                                                             19th
                                                                                                                        Amount inc:
                                                                                                                           Tax Escrow
                                                                                                                           Insurance Escrow
                                                                                                                           Other

 3.2     Curing Defaults and Maintenance of Direct Payment Obligations. [Check one]

             None. If "None" is checked, the remainder of § 3.2 need not be completed.

             Cure Claims. On the Petition Date, the Debtor was delinquent on payments to satisfy certain secured claims or upon obligations
             arising under an executory contract or an unexpired lease that the Debtor has elected to assume under § 6.1 of this Plan. While
             remaining current on all direct payment obligations (future installment payments) as each comes due under the applicable
             contractual documents during the plan term (a "DPO"), the Debtor shall cure all such delinquencies through the Plan as listed
             below (a "Cure Claim"). Each listed claims constitutes a separate class. The total amount of each allowed Cure Claim will be paid
             in full by the Trustee. The Trustee is authorized to initiate monthly payments on an interim basis based upon the projected amount
             of each Cure Claim listed below until such time as the allowed amount of each Cure Claim is established by the filing of a proof of
             claim in accordance with the Bankruptcy Rules. The amount listed in that proof of claim, or the final determination by the Court of
             any objection thereto, shall control over any projected Cure Claim amount listed below. No interest will be paid on any Cure Claim
             in the absence of documentary proof that the applicable contractual documents entitle the claimant to receive interest on unpaid
             interest.

             If the automatic stay is terminated as to the property for which a Cure Claim exists at any time during the Plan Term, the next
             distribution by the Trustee on such Cure Claim shall be escrowed pending any possible reconsideration of the stay termination. If
             the stay termination is reversed by agreement or by court order, then the single escrowed distribution shall be released to the
             holder of the Cure Claim and regular distributions on that Cure Claim shall be reinstituted. In the event that the stay termination
             remains in effect on the second distribution date after the stay termination, the escrowed funds shall be released for distribution
             to other classes under this Plan and the Cure Claim shall thereafter be addressed solely under applicable state law procedures
             and will no longer be treated by the Plan. The completion of payments contemplated in this subsection constitutes a cure of all
             defaults of the Debtor's obligation to each listed claimant.




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Debtor     Robert Cecil Lee Cooper                                                                  Case number
           Amber Dawn Cooper

               Claimant                 Collateral/Property/Contract      Debtor's DPO     Projected         Plan      Projected       Projected Total
                                                Description                 Amount         Cure Claim      Interest     Monthly        Cure Payment
                                                                                            Amount           Rate     Payment by         by Trustee
                                                                                                                        Trustee

 1.
 Usda Rural Development                Debtors' Homestead                  $1,200.00       $12,000.00      0.00%        $387.10         $12,000.00


       Debt Maturing During Plan
       Term.
       Debt Maturing After
       Completion of Plan Term.
       Curing Assumed Executory
       Contract or Lease Obligation
       Pursuant to § 6.1.

 3.3      Secured Claims Protected from § 506 Bifurcation. [Check one]

               None. If "None" is checked, the remainder of § 3.3 need not be completed.


 3.4      Secured Claims Subject to § 506 Bifurcation.

          [Check one]

               None. If "None" is checked, the remainder of § 3.4 need not be completed.


 3.5      Direct Payment of Secured Claims Not in Default. [Check one]

               None. If "None" is checked, the remainder of § 3.5 need not be completed.

               Direct Claims. Each of the following secured claims are designated for direct payment in accordance with the applicable
               contractual documents (a "Direct Claim"). The Debtor represents that each secured claim listed in this subsection was not in
               default on the Petition Date and either: (1) is protected from valuation under § 506(a) and payable at a contractual interest rate
               reasonable under the circumstances; or (2) should otherwise be approved by the Court based upon the justification provided.
               Without such representations by the Debtor, this subsection may not be utilized and the claim treatment must
               instead be addressed in § 3.4. Each listed secured claim constitutes a separate class.

           Claimant             Collateral Description      Total Claim     Collateral     Contract     Monthly           Party to           Date of
                                                            Amount on       Value on       Interest     Payment            Make               Final
                                                             Petition        Petition        Rate         per             Payment           Monthly
                                                               Date           Date                      Contract                            Payment

 1.
 Cuvelier Used Cars            2009 Chevrolet               $20,586.47 $10,000.00           6.25%        $500.00         Debtor
                               Tahoe                                                                                     Co-Debtor           Exceeds
                                                                                                                         Third Party      Plan Term


          Justification:   Purchased shortly before BR petition

 3.6      Surrender of Property. [Check one]

               None. If "None" is checked, the remainder of § 3.6 need not be completed.




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Debtor    Robert Cecil Lee Cooper                                                                    Case number
          Amber Dawn Cooper
              Surrender of Collateral and Related Stay Relief. The Debtor surrenders to each claimant listed below the property that
              secures that creditor's claim and requests that, upon confirmation of this plan, the automatic stay under § 362(a) be terminated as
              to the referenced collateral only and any co-debtor stay under § 1301 be terminated in all respects. The affected claimant shall
              have ninety (90) days after the Effective Date of the Plan to file a proof of claim, or an amended claim, regarding recovery of
              any deficiency balance from the Estate resulting from the disposition of the collateral. Any such allowed general unsecured claim
              will thereafter be treated in Part 5 below.


                     Claimant                                    Collateral Description                              Collateral Location

 1.
 Car Finance Services, Inc.                         2004 Saturn Ion

 2.
 Kent's Auto Sales                                  2014 Chevy Camero

 3.7     Lien Retention.

         The holder of a lien securing payment of a claim addressed in §§ 3.1 or 3.2 of this Plan shall retain its lien until the indebtedness
         secured by such lien is totally satisfied as determined under applicable non-bankruptcy law. The holder of a lien securing payment of
         any other allowed secured claim that is governed by this Plan shall retain its lien until the earlier of: (1) the total satisfaction of the
         indebtedness secured by the lien as determined under applicable non-bankruptcy law; or (2) the entry of a discharge order in favor of
         the Debtor under § 1328(a). In each instance, the provisions of this subsection may be superseded by a subsequent order of the
         Court.


 3.8     Maintenance of Insurance and Post-Petition Taxes Upon Retained Collateral.

         For all property that secures the payment of an indebtedness and which is proposed to be retained by the Debtor under this Plan, the
         Debtor must maintain insurance coverage as required either by the applicable contractual documents governing the indebtedness or as
         may be directed by the Trustee. The Debtor must also pay all ad valorem taxes on property proposed to be retained by the Debtor
         under this Plan as they come due in the post-petition period. Such payment shall be tendered to the appropriate taxing authorities in
         accordance with applicable non-bankruptcy law on or before the last date on which such taxes may be paid without penalty.


 3.9     Lien avoidance.     [Check one]

              None. If "None" is checked, the remainder of § 3.9 need not be completed.


 3.10    Rule 3012 Valuation of Collateral.      [Check one]

              None. If "None" is checked, the remainder of § 3.10 need not be completed.


 3.11    Lien Removal Based Upon Unsecured Status.              [Check one]

              None. If "None" is checked, the remainder of § 3.11 need not be completed.


 Part 4:       Treatment of Administrative Expenses, DSO Claims and Other Priority Claims

 4.1     General

         All allowed priority claims, other than those particular domestic support obligations treated in § 4.5, will be paid in full without post-
         confirmation interest. Where applicable, the Trustee is authorized to initiate monthly payments on an interim basis based upon the
         projected amount of each priority claim listed below until such time as the allowed amount of each priority claim is established by the
         filing of a proof of claim in accordance with the Bankruptcy Rules. The amount listed in that proof of claim, or the final determination by
         the Court of any objection thereto, shall control over any projected priority claim amount listed below.


 4.2     Trustee's Fees.

         The Trustee's fees are fixed by the United States Trustee pursuant to the provisions of 28 U.S.C. § 586(e)(2) and, pursuant thereto,
         shall be promptly collected and paid from all plan payments received by the Trustee.




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Debtor    Robert Cecil Lee Cooper                                                                  Case number
          Amber Dawn Cooper

 4.3     Attorney's Fees.

         The total amount of attorney's fees requested by the Debtor's attorney in this case is      $4,000.00      . The amount of
               $500.00         was paid to the Debtor's attorney prior to the Petition Date. The allowed balance of attorney's fees will be paid by
         the Trustee from the remaining available funds after the payment of required adequate protection payments pursuant to §§ 3.3 and 3.4
         of this Plan.

         The allowed balance of attorney's fees to be awarded to the Debtor's attorney in this case shall be determined by:

              LBR 2016(h)(1);          by submission of a formal fee application.

                 LBR 2016(h)(1): If the attorney's fee award is determined by the benchmark amounts authorized by LBR 2016(h), the total fee
                 shall be the amount designated in LBR 2016(h)(1)(A) unless a certification is filed by the Debtor's attorney regarding the
                 rendition of legal services pertaining to automatic stay litigation occurring during the Benchmark Fee Period outlined in that local
                 rule. The Trustee is authorized to make the benchmark fee calculation and to recognize the proper enhancement or reduction
                 of the benchmark amount in this case without the necessity of court order. No business case supplement to the benchmark
                 fee shall be recognized unless a business case designation is granted on or before initial confirmation of the Plan.

                 Fee Application: If the attorney's fee award is determined by the formal fee application process, such fee application shall be
                 filed no later than 30 days after the expiration of the Benchmark Fee Period outlined in LBR 2016(h)(1). If no application
                 is filed within that period, the determination of the allowed amount of attorney's fees to the Debtor's attorney shall revert to the
                 benchmark amounts authorized by LBR 2016(h)(1) without the necessity of any further motion, notice or hearing and the
                 Trustee shall adjust any distributions in this class accordingly.


 4.4     Priority Claims: Domestic Support Obligations ("DSO"). [Check one]

              None. If "None" is checked, the remainder of § 4.4 need not be completed.


 4.5     Priority Claims: DSO Assigned/Owed to Governmental Unit and Paid Less Than Full Amount. [Check one]

              None. If "None" is checked, the remainder of § 4.5 need not be completed.


 4.6     Priority Claims: Taxes and Other Priority Claims Excluding Attorney's Fees and DSO Claims. [Check one]

              None. If "None" is checked, the remainder of § 4.5 need not be completed.


 Part 5:       Treatment of Nonpriority Unsecured Claims

 5.1     Specially Classed Unsecured Claims.            [Check one]

              None. If "None" is checked, the remainder of § 5.1 need not be completed.


 5.2     General Unsecured Claims.

         Allowed nonpriority unsecured claims shall comprise a single class of creditors and will be paid:

              100% + Interest at                ;

              100% + Interest at                    with no future modifications to treatment under this subsection;

              Pro Rata Share: of all funds remaining after payment of all secured, priority, and specially classified claims.


 5.3     Liquidation Analysis: Unsecured Claims Under Parts 4 and 5.

         If the bankruptcy estate of the Debtor was liquidated under Chapter 7 of the Bankruptcy Code, the holders of priority unsecured claims
         under Part 4 of this Plan and the holders of nonpriority unsecured claims under Part 5 of this Plan would be paid an aggregate sum of
         approximately        $0.00    . Regardless of the particular payment treatments elected under Parts 4 and 5 of this Plan, the
         aggregate amount of payments which will be paid to the holders of allowed unsecured claims under this Plan will be equivalent to or
         greater than this amount.




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Debtor    Robert Cecil Lee Cooper                                                                  Case number
          Amber Dawn Cooper

 Part 6:       Executory Contracts and Unexpired Leases

 6.1     General Rule - Rejection. The executory contracts and unexpired leases of the Debtor listed below are ASSUMED.
         All other executory contracts and unexpired leases of the Debtor are REJECTED.

         [Check one.]

              None. If "None" is checked, the remainder of § 6.1 need not be completed.

              Assumed Contracts/Leases. All cure claims arising from the assumption of the following executory contracts or unexpired
              leases will be treated as specified in § 3.2 of the Plan and must be listed therein in order to be assumed. Otherwise, post-petition
              installment payments for any assumed executory contract or unexpired lease agreement constitute a direct payment obligation
              ("DPO") of the Debtor for which the Debtor shall serve as the disbursing agent.


                             Counterparty                                        Description and Required Monthly Payment Amount of
                                                                                   Assumed Executory Contract or Leased Property

 1.                                                                     $192.89
 Acceptance Now                                                         Dining Room Furniture

 2.                                                                     $140.71
 JPG Athens, LP                                                         Washer & Dryer

 3.                                                                     $173.19
 JPG Athens, LP                                                         TV

 Part 7:       Vesting of Property of the Estate

 7.1     Property of the estate will vest in the Debtor only upon the entry of an order for discharge pursuant to § 1328, in the absence of a
         court order to the contrary.


 Part 8:       Nonstandard Plan Provisions
              None. If "None" is checked, the rest of Part 8 need not be completed.


 Part 9:       Miscellaneous Provisions

 9.1     Effective Date. The effective date of this Plan shall be the date upon which the order confirming this Plan becomes a final,
         nonappealable order.


 9.2     Plan Distribution Order. Unless the Court orders otherwise, disbursements by the Trustee under this Plan shall occur in the following
         order: (1) Trustee's fees under § 4.2 upon receipt; (2) adequate protection payments under §§ 3.3 and 3.4; (3) allowed attorney fees
         under § 4.3; (4) secured claims under §§ 3.2, 3.3 and 3.4 concurrently; (5) DSO priority claims under §§ 4.4 and 4.5 concurrently;
         (6) non-DSO priority claims under § 4.6; (7) specially classed unsecured claims under § 5.1; and (8) general unsecured claims under
         § 5.2.


 9.3     Litigation Proceeds. No settlement of any litigation prosecuted by the Debtor during the Plan Term shall be consummated without the
         consent of the Chapter 13 Trustee and, except as otherwise authorized by the Trustee, all funds received by the Debtor, or any
         attorney for the Debtor, shall be immediately tendered to the Chapter 13 Trustee for satisfaction of any authorized exemption claim of
         the Debtor, with the remainder of the funds dedicated as an additional component of the plan base.




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Debtor     Robert Cecil Lee Cooper                                                          Case number
           Amber Dawn Cooper

 Part 10:      Signatures

   X     /s/ GORDON MOSLEY                                             Date 02/19/2019

   Signature of Attorney for Debtor(s)


   X     /s/ Robert Cecil Lee Cooper                                   Date 02/19/2019

   X     /s/ Amber Dawn Cooper                                         Date 02/19/2019

   Signature(s) of Debtor(s) (required if not represented by an attorney; otherwise optional)

   By filing this document, the attorney for the Debtor or any self-represented Debtor certifies to the Court that the wording
   and order of the provisions in this Chapter 13 plan are identical to those contained in TXEB Local Form 3015-a, other than
   any nonstandard provisions included in Part 8, and that the foregoing proposed Plan contains no nonstandard provisions
   other than those included in Part 8.



 Part 11:      Certificate of Service to Matrix as Currently Constituted by the Court




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                                     UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF TEXAS
                                              TYLER DIVISION
IN RE: Robert Cecil Lee Cooper                                               CASE NO
       Amber Dawn Cooper
                    Debtor(s)                                                CHAPTER   13

                                  EXHIBIT "A" - VARIABLE PLAN PAYMENTS

                    PROPOSED PLAN OF REPAYMENT (VARIABLE PAYMENTS INTO THE PLAN)

 Month / Due Date      Payment                Month / Due Date   Payment                    Month / Due Date   Payment
  1    03/16/2019       $750.00                21   11/16/2020     $940.00                   41
  2    04/16/2019       $750.00                22   12/16/2020     $940.00                   42
  3    05/16/2019       $750.00                23   01/16/2021     $940.00                   43
  4    06/16/2019       $750.00                24   02/16/2021     $940.00                   44
  5    07/16/2019       $750.00                25   03/16/2021   $1,253.00                   45
  6    08/16/2019       $750.00                26   04/16/2021   $1,253.00                   46
  7    09/16/2019       $750.00                27   05/16/2021   $1,253.00                   47
  8    10/16/2019       $750.00                28   06/16/2021   $1,253.00                   48
  9    11/16/2019       $750.00                29   07/16/2021   $1,253.00                   49
  10   12/16/2019       $750.00                30   08/16/2021   $1,253.00                   50
  11   01/16/2020       $750.00                31   09/16/2021   $1,253.00                   51
  12   02/16/2020       $750.00                32   10/16/2021   $1,253.00                   52
  13   03/16/2020       $750.00                33   11/16/2021   $1,253.00                   53
  14   04/16/2020       $750.00                34   12/16/2021   $1,253.00                   54
  15   05/16/2020       $750.00                35   01/16/2022   $1,253.00                   55
  16   06/16/2020       $750.00                36   02/16/2022   $1,253.00                   56
  17   07/16/2020       $750.00                37                                            57
  18   08/16/2020       $940.00                38                                            58
  19   09/16/2020       $940.00                39                                            59
  20   10/16/2020       $940.00                40                                            60
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                                      UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF TEXAS
                                               TYLER DIVISION

  IN RE: Robert Cecil Lee Cooper                                               CASE NO.
                                    Debtor


          Amber Dawn Cooper                                                   CHAPTER      13
                                  Joint Debtor

                                                 CERTIFICATE OF SERVICE


    I, the undersigned, hereby certify that on February 19, 2019, a copy of the attached Chapter 13 Plan, with any
attachments, was served on each party in interest listed below, by placing each copy in an envelope properly addressed,
postage fully prepaid in compliance with Local Rule 9013 (g).




                                /s/ GORDON MOSLEY
                                GORDON MOSLEY
                                Bar ID:00791311
                                Gordon Mosley
                                4411 Old Bullard Rd
                                Suite 700
                                Tyler, TX 75703



Accept Now                                   Afs Acceptance Llc                        Associates in Neurology
5501 Headquarters Dr.                        7846                                      0002
Plano, TX 75024                              101 Ne 3rd Ave                            105 Cherry Ave
                                             Fort Lauderdale, FL 33301                 Cookeville, TN 38501-2521



Ad Astra Recovery Serv                       Ally Financial                            Atlas Credit Company I
xxx8406                                      9457                                      xxxxxxx6001
7330 W 33rd St N Ste 118                     200 Renaissance Ctr                       2210 W Grande Blvd
Wichita, KS 67205                            Detroit, MI 48243                         Tyler, TX 75703



Ad Astra Recovery Serv                       American Honda Finance                    Attorney General of Texas
xxx7024                                      7999                                      Taxation Div - Bankruptcy
7330 W 33rd St N Ste 118                     1220 Old Alpharetta Rd S                  Box 12548 Capitol Station
Wichita, KS 67205                            Alpharetta, GA 30005                      Austin Texas 78711



Advance 24/7 Financial                       APP of Tennessee ED PLLC                  Brownsboro ISD
100 Oceanside Dr.                            PO Box 31957                              Flora Banks Tax Assessor/Collector
Nashville, TN 37204                          Clarksville, TN 37040                     PO Box 446
                                                                                       Brownsboro, TX 75756-0446
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                                               TYLER DIVISION

  IN RE: Robert Cecil Lee Cooper                                                CASE NO.
                                    Debtor


          Amber Dawn Cooper                                                     CHAPTER    13
                                  Joint Debtor

                                                 CERTIFICATE OF SERVICE
                                                    (Continuation Sheet #1)

Capital One                                  Convergent Outsourcing                   Denis Pelkey
xxxxxxxxxxxx4869                             xxxx7094                                 171 Edgewood Dr
15000 Capital One Dr                         800 Sw 39th St                           Cookeville, TN 38501
Richmond, VA 23238                           Renton, WA 98057



Capital One Bank Usa NA                      Cookville Medical Center                 DirecTV
7034                                         PO Box 3147                              PO Box 6550
15000 Capital One Dr                         Cookeville, TN 38502                     Greenwood Village, CO 80155
Richmond, VA 23238



Car Finance Services, Inc.                   Cookville Regional Medical Group         Diversfd Crd
6510 Chapman Hwy Ste C                       Attn: 15060 W                            xxx5579
Knoxville, TN 37920                          PO Box 14000                             706 Glencrest Lnste A
                                             Belfast, ME 04915                        Longview, TX 75601



Carey D. Ebert                               Credit Control                           Dynamic Recovery Solutions
110 North College Avenue                     PO Box 248                               135 Interstate Blvd
Tyler, TX 75702                              Hazelwood, MO 63042                      Greenville, SC 29615




Christus Trinity Mother Frances              Credit First N A                         Financial Corporation of America
0280                                         xxxxx0225                                12515 Research Blvd., Bldg. 2
PO Box 844787                                6275 Eastland Rd                         Suite 100
Dallas TX 75284-4787                         Brookpark, OH 44142                      Austin, TX 78720



Convergent Outsourcing                       Credit Systems Intl In                   First National Bank Tx
xxxx9099                                     xxxxx0778                                xxxx6052
800 Sw 39th St                               1277 Country Club Ln                     507 N Gray St
Renton, WA 98057                             Fort Worth, TX 76112                     Killeen, TX 76541



Convergent Outsourcing                       Cuvelier Used Cars                       First Premier Bank
xxxx7110                                     1605 W. Erwin                            xxxxxxxxxxxx3912
800 Sw 39th St                               Tyler, TX 75702                          3820 N Louise Ave
Renton, WA 98057                                                                      Sioux Falls, SD 57107
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  IN RE: Robert Cecil Lee Cooper                                             CASE NO.
                                   Debtor


         Amber Dawn Cooper                                                   CHAPTER    13
                                Joint Debtor

                                               CERTIFICATE OF SERVICE
                                                  (Continuation Sheet #2)

First Premier Bank                          Internal Revenue Service               Lvnv Funding Llc
xxxxxxxxxxxx9515                            Central Insolvency Department          xxxxxxxxxxxx2697
3820 N Louise Ave                           P.O. Box 7346                          C/o Resurgent Capital Services
Sioux Falls, SD 57107                       Philadelphia, PA 19101-7346            Greenville, SC 29602



First Premier Bank                          Jefferson Capital Syst                 Midwest Recovery System
xxxxxxxxxxxx4617                            xxxxxxxxx7003                          xxxxxxxxxxx7923
3820 N Louise Ave                           16 Mcleland Rd                         514 Earth City Plaza
Sioux Falls, SD 57107                       Saint Cloud, MN 56303                  Earth City, MO 63045



First Premier Bank                          John J. Pollmann                       MRS BPO, LLC
xxxxxxxxxxxx5732                            130 Lawrence Rd                        3168
3820 N Louise Ave                           Parsippany, NJ 07054                   1930 Olney Ave.
Sioux Falls, SD 57107                                                              Cherry Hill, NJ 08003



Henderson County Appraisal                  Kent's Auto Sales                      Municipal Services Bureau
PO Box 430                                  409 N. Glenwood Blvd                   Netrma Processing
Athens, TX 75751-0430                       Tyler, TX 75702                        PO Box 16777
                                                                                   Austin, TX 78761-6755



Henderson County Tax Assessor               Line 5 LLC                             NETRMA PROCESSING
c/o: Peggy Goodall                          PO Box 112737                          xxxx, 0000
101 E Tyler Courthouse Annex                Naples, FL 34108                       PO Box 16777
Athens, TX 75751                                                                   Austin, Texas 78761



Home Store Rent To Own                      Lularoe                                NTTA
1190 S. Trades Days Blvd #2                 4160 Temescal Canyon Rd. Ste 607       PO Box 660244
Canton, TX 75103                            Corona, CA 92883                       Dallas, TX 75266-0244




I C System Inc                              Lvnv Funding Llc                       Optimum Outcomes Inc
xxxxxxx0001                                 xxxxxxxxxxxx9966                       xxxxx8367
Po Box 64378                                C/o Resurgent Capital Services         2651 Warrenville Road
Saint Paul, MN 55164                        Greenville, SC 29602                   Downers Grove, IL 60515
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  IN RE: Robert Cecil Lee Cooper                                                CASE NO.
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         Amber Dawn Cooper                                                      CHAPTER    13
                               Joint Debtor

                                              CERTIFICATE OF SERVICE
                                                 (Continuation Sheet #3)

Paypal                                      Scott & Associates PC                     Texas Health Resources
2211 N 1st Street                           PO Box 115220                             c/o Creditors Bankruptcy Services
San Jose, CA 95131                          Carrolton, Texas 75011-5220               PO Box 740933
                                                                                      Dallas, TX 75374



Pioneer ml Of Washington                    Security Credit Service                   Texas Oncology P.A. Dallas Sammons
xxx5562                                     xxx9740                                   5780
4233 Roanoke Rd                             2653 W Oxford Loop                        PO Box 732175
Kansas City, MO 64111                       Oxford, MS 38655                          Dallas, TX 75373



Progressive Leasing                         Sprint                                    Texas Star Title & Loans
256 Data Dr                                 PO Box 650270                             6514 S. Broadway
Draper, UT 84020                            Dallas TX 75265                           Tyler, TX 75703




Putnam County EMS                           Swap.com                                  Texas Workforce Commission
4412                                        850 Veterans Pkwy Unit A                  Attn: Bankruptcy Information
PO Box 9150                                 Bolingbrook, IL 60440                     101 E 15th St
Paducah, KY 42002                                                                     Austin Texas 78778-0001



RNR Tire Express of Texas                   Synchrony Bank/PayPal Credit              Thread Up.com
2110 WSW Loop 323                           8757                                      114 Sansome St. 5th Floor
Tyler, TX 75701                             Attn: Bankruptcy                          San Francisco, CA 94104
                                            PO Box 103104
                                            Roswell, GA 30076-9104


Robert Cecil Lee Cooper                     Texas Comptroller of Public Accts         TLRA
11081 Browning Street                       Rev. Accounting Div-Bankruptcy            7868
Brownsboro, Texas 75756                     PO Box 13528                              2707 North Loop West Suite 400
                                            Austin Texas 78711-3528                   Houston, TX 77008



Rural Development                           Texas Health Rescources                   TLRA
Customer Service Center                     PO Box 910596                             PO Box 650576
PO Box 66506                                Dallas, TX 75391                          Dallas, TX 75265
Saint Louis, MO 63166
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  IN RE: Robert Cecil Lee Cooper                                              CASE NO.
                                    Debtor


          Amber Dawn Cooper                                                   CHAPTER    13
                                  Joint Debtor

                                                 CERTIFICATE OF SERVICE
                                                    (Continuation Sheet #4)

Txu Energy                                   USDA Rural Development
xxxxxxxxxxxx9134                             Centralized Servicing Center
200 W John Carpenter Fwy                     PO Box 66879
Irving, TX 75039                             Saint Louis, MO 63166



Tyler Radiology Associates                   Verizon Wireless
4772                                         0001
PO Box 9590                                  National Recovery Operations
Tyler TX 75711                               Minneapolis, MN 55426



Uniited States Attorney General              Wakefield & Associates, Inc.
US Dept. of Justice                          PO Box 58
950 Pennsylvania Ave. NW                     Fort Morgan, CO 80701
Washington, DC 50530-0001



United Revenue Corp                          Wakefield & Associates, Inc.
204 Billings #120                            PO Box 59003
Arlington TX 76010                           Knoxville, TN 37950




United States Attorney                       Westlake Financial Svc
110 N College                                1677
Suite 700                                    4751 Wilshire Bvld
Tyler Texas 75702                            Los Angeles, CA 90010



US Cellular                                  World Finance Corporation
7728                                         xxxxxxx6401
Dept 0205                                    108 Frederick St
Palatine, IL 60055                           Greenville, SC 29607



Usda Rural Development
xxxx5465
P.O. Box 66889
Saint Louis, MO 63166
